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                             Exhibit D
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            CBP Targeted Americans
            Associated with the
            2018–2019 Migrant
            Caravan




                                                         September 20, 2021
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                                      DHS OIG HIGHLIGHTS
                   CBP Targeted Americans Associated with the
                          2018–2019 Migrant Caravan

  September 20, 2021                        What We Found
                                            U.S. Customs and Border Protection (CBP) officials
  Why We Did                                placed lookouts on U.S. travelers suspected of potential
  This Review                               criminal activity. However, many CBP officials were
                                            unaware of CBP’s policy related to placing lookouts.
                                            Therefore, CBP may have inadvertently placed lookouts
  In early 2019, a number of                on U.S. citizens suspected of organizing or being
  journalists, attorneys, and               associated with the migrant caravan, which did not fully
  migrant caravan supporters                comply with policy. Additionally, CBP officials did not
  raised concerns in the media              remove lookouts promptly. As a result, CBP subjected
  and in litigation that CBP                some individuals to repeated and unnecessary
  took improper actions against             secondary inspections.
  them as a form of
  harassment due to their work              In addition, in December 2018, a CBP official asked
  on the migrant caravan. We                Mexico to deny entry to caravan associates, including 14
  conducted this review to                  U.S. citizens. Unlike CBP’s legitimate reasons for
  evaluate these allegations.               placing lookouts on these individuals, CBP had no
                                            genuine basis for asking Mexico to deny entry to these
  What We                                   U.S. citizens. On several other occasions throughout
                                            Operation Secure Line, other CBP officials also
  Recommend                                 improperly shared the sensitive information of U.S.
                                            citizens with Mexico. Some of these CBP officials may
                                            have asked Mexico to deny entry to these individuals,
  We made six
                                            but we could not determine whether they did, because
  recommendations to improve
                                            CBP officials were not forthcoming about the
  CBP’s controls on placing
                                            disclosures, did not follow CBP policies on sharing
  and removing lookouts and
                                            information with foreign entities, and did not retain
  sharing U.S. citizens’
                                            communication records.
  sensitive information with
  foreign countries.
                                            CBP Response
                                            CBP concurred with our six recommendations, which
                                            are resolved and open.
  For Further Information:
  Contact our Office of Public Affairs at
  (202) 981-6000, or email us at
  DHS-OIG.OfficePublicAffairs@oig.dhs.gov




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   Abbreviations

           CBP               U.S. Customs and Border Protection
           C.F.R.            Code of Federal Regulations
           EOC               Emergency Operations Center
           FOB               Foreign Operations Branch
           NTC               National Targeting Center
           SPII              Sensitive Personally Identifiable Information
           TTRT              Tactical Terrorism Response Team
           U.S.C.            United States Code




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                                        Background

   Starting in October 2018, thousands of migrants gathered and traveled from
   Central America through Mexico to seek entry to the United States. This came
   to be known as the “migrant caravan.” U.S. Customs and Border Protection
   (CBP) was concerned that the estimated 7,000 to 10,000 members of the
   migrant caravan could overwhelm CBP’s resources and hinder its ability to
   process the legitimate flow of trade and travel. Additionally, because of reports
   that the migrant caravan entered Mexico by force, CBP was concerned about
   the potential for mass illegal border crossings and violence against law
   enforcement when the migrant caravan reached the U.S. border.

   To coordinate its response to the migrant caravan, CBP implemented
   “Operation Secure Line” from October 2018 through February 2019. As part of
   this operation, in October 2018, CBP stood up an Emergency Operations
   Center (EOC) in San Diego, CA. The EOC’s mission included maintaining
   control of the border, preventing mass illegal border crossings, safeguarding
   legitimate trade and travel, and protecting CBP personnel.

   The EOC was comprised of several sections, including Planning, Operations,
   Logistics, and Intelligence. The EOC’s Intelligence Section gathered
   information about the number and travel patterns of migrants moving toward
   the border and researched social media and news articles to identify potential
   migrant caravan organizers. The EOC heightened its efforts following
   “incursions” on November 25, 2018, and January 1, 2019, when members of
   the migrant caravan stormed the border in an attempt to enter the United
   States from Tijuana, and threw rocks at CBP personnel.1 CBP closed the San
   Ysidro Port of Entry outside of San Diego on November 25, 2018, and dispersed
   tear gas on both occasions.

   CBP officials, particularly those assigned to the EOC Intelligence Section, also
   gathered information by placing “lookouts” on individuals they suspected of
   being affiliated with the migrant caravan and others who might have
   information about those individuals. Lookouts are electronic alerts placed in
   CBP’s computer system that can result in a variety of different actions. Most of
   the caravan-related lookouts resulted in lengthier, enhanced inspections for
   those individuals when they crossed the U.S. border. When individuals with
   caravan-related lookouts attempted to enter the United States at ports of entry,
                               
   1Dara Lind, How a march at the US-Mexico border descended into tear gas and chaos, Vox (Nov.
   26, 2018), https://www.vox.com/policy-and-politics/2018/11/26/18112474/tear-gas-border-
   patrol-caravan-rocks; Alan Yates, U.S. Agents Fire Tear Gas Across Mexican Border, New York
   Times (Jan. 1, 2019), https://www.nytimes.com/2019/01/01/world/americas/migrants-
   border-tear-gas.html.


   www.oig.dhs.gov                              2                                   OIG-21-62
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   CBP officials referred them to secondary inspection,2 where officers interviewed
   them about their knowledge of and contacts with the migrant caravan. Some
   interviews were relatively short, but others lasted several hours.

   The EOC also collaborated with Federal, state, local, and Mexican agencies.
   When exchanging information with Mexico,3 the EOC worked with CBP’s San
   Diego Foreign Operations Branch (FOB), which is responsible for liaising with
   local Mexican officials. Often, information sharing happened at a command
   post that Mexico and CBP established in November 2018 to share caravan-
   related information. Mexican officials and CBP FOB officials staffed the
   command post around the clock, exchanged intelligence relating to migrant
   caravan movements and organizers, and coordinated U.S. and Mexican law
   enforcement and immigration operations.

   In early 2019, a number of U.S. and foreign journalists, attorneys, and migrant
   caravan supporters raised concerns in the media that CBP was taking
   improper action against them as a form of harassment due to their work on the
   migrant caravan, or to intimidate them from continuing to perform caravan-
   related work.4 Some individuals claimed CBP subjected them to repeated,
   unnecessary, and/or excessive secondary inspections when they attempted to
   reenter the United States, including one individual who claimed CBP stopped
   him for secondary inspection six times between December 2018 and February
   2019. Other individuals alleged the United States placed alerts on them, which
   led Mexican officials to deny them entry into Mexico. Finally, other individuals
   alleged that CBP revoked their membership in Trusted Traveler Programs.5
   Following the media stories, several congressional committees questioned
   whether CBP inappropriately targeted individuals who engaged in
   constitutionally protected activities.6

   The Department of Homeland Security Office of Inspector General (OIG)
   evaluated these allegations. Specifically, in this report we address the
   following:
                                 
   2 A secondary inspection is part of and a continuation of the overall border inspection, and an
   officer may refer any traveler to secondary inspection for various reasons, at his or her
   discretion in compliance with law and policy. Secondary inspections can include interviews
   and searches of individuals, their possessions, and electronic devices.
   3 For convenience, this report uses the term “Mexico” to refer to Mexican government officials.
   4 Some of these individuals have also filed lawsuits alleging that CBP targeted them in violation

   of the U.S. Constitution and Federal laws.
   5 Trusted Traveler Programs provide expedited processing at ports of entry for preapproved,

   low-risk travelers. We are currently conducting a separate review of allegations related to
   CBP’s Trusted Traveler Programs.
   6 We have not conducted a legal analysis of the constitutional issues as they were generally

   outside DHS OIG’s purview and the scope of this report.


   www.oig.dhs.gov                                 3                                     OIG-21-62
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       x   whether CBP had legitimate law enforcement reasons for placing
           lookouts on and conducting secondary inspections of U.S.7 journalists,
           attorneys, and migrant caravan supporters, or whether it did so to
           harass, intimidate, or retaliate against them; and

       x   whether CBP improperly requested that Mexico deny entry to American
           journalists, attorneys, and migrant caravan supporters.

                                     Results of Review

   CBP officials had legitimate reasons for placing lookouts on U.S. journalists,
   attorneys, and others suspected of organizing or being associated with the
   migrant caravan (caravan associates).8 However, many CBP officials were
   unaware of CBP’s policy related to placing lookouts and therefore may have
   inadvertently placed lookouts on these U.S. citizens, which did not fully comply
   with the policy. Additionally, CBP officials did not remove lookouts promptly
   once they were no longer necessary.9 As a result, CBP subjected some of these
   individuals to repeated and unnecessary secondary inspections.

   In addition, in December 2018, a CBP official asked Mexico to deny entry to
   caravan associates, including 14 U.S citizens. Unlike CBP’s legitimate reasons
   for placing lookouts on these individuals, CBP had no genuine basis for asking
   Mexico to deny entry to these U.S. citizens. On several other occasions
   throughout Operation Secure Line, other CBP officials also improperly shared
   the names and sensitive information of Americans with Mexico. Some of these
   CBP officials may have asked Mexico to deny entry to these U.S. citizens, but
   we could not determine whether they did, because CBP personnel were not
   forthcoming about the disclosures, did not follow CBP policies on sharing
   information with foreign entities, and did not retain communication records.




                                
   7  Both U.S. citizens and foreign individuals raised concerns in the media, but we focused our
   review on U.S. citizens.
   8 This report uses the term “caravan associates,” even though some individuals, such as

   journalists, may not have actually been “associated” with the caravan.
   9
     This report discusses “removing” lookouts even though CBP officials do not technically remove
   most lookouts. Instead, they keep the lookouts active, but modify them so that the lookouts no
   longer send individuals to secondary inspection.


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   CBP Generally Had Legitimate Reasons for Placing Caravan-
   Related Lookouts on U.S. Citizens, but Some Lookouts Did Not
   Fully Comply with CBP Policy

   We did not find that CBP placed lookouts to retaliate against U.S. citizens for
   performing lawful work related to the migrant caravan. To the contrary,
   witnesses told us, and contemporaneous emails and documents corroborated,
   CBP placed lookouts to gain information about suspected illegal activity and
   then generally sought information consistent with that purpose during the
   resulting interviews. Although we determined CBP’s lookouts on a number of
   journalists present at an illegal border crossing were unnecessary, we found no
   evidence that CBP placed these lookouts to harass the journalists.

   Even though we found no inappropriate intent behind the lookouts, we did find
   CBP officials did not understand or always follow CBP policy related to
   lookouts. Many CBP officials did not know the proper standard for placing
   lookouts, and almost half of the caravan-related lookouts may not have
   complied with the policy. Additionally, CBP subjected some U.S. citizens to
   repeated and unnecessary secondary inspections, because CBP did not
   promptly remove lookouts that were no longer necessary, as required by CBP
   policy.

   CBP Officials Placed Caravan-Related Lookouts and Generally Conducted
   the Resulting Inspections for Legitimate Reasons

   CBP offers little guidance and few restrictions on using lookouts. CBP’s only
   written guidance on the appropriate basis for placing lookouts is a TECS10
   Directive that has not been updated since 1990, 13 years before DHS was
   created.11 According to the TECS Directive, lookouts must be placed for
   “legitimate law enforcement purposes” and only if illegal activity is suspected.



                               
   10 TECS is the principal law enforcement and antiterrorism database used by CBP officers at
   ports of entry to collect, maintain, and screen data and to document border inspections of
   travelers and merchandise. TECS is the system in which users place lookouts. TECS
   previously stood for Treasury Enforcement Communications System but is no longer an
   acronym.
   11 Customs Directive No. 4320-003, July 1990 (TECS Directive). CBP is in the process of

   updating this Directive. Another policy — CBP Directive No. 3340-051, Passenger Analytical
   Unit Procedures for Targeting High-Risk Travelers, June 2014 — contains a short section on
   lookouts, but it does not include any additional guidance beyond the TECS Directive.
   Previously, CBP’s Inspector’s Field Manual provided more detailed guidance on when CBP
   officials can place lookouts, but CBP revoked that manual in 2013 and has not replaced it.


   www.oig.dhs.gov                               5                                    OIG-21-62
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    Lookouts shouldnever be entered as a “prank” or “joke,” or for “retaliatory
    reasons.”

    We found no direct evidence in emails or interviews that CBP officials intended
    to retaliate, harass, or intimidate individuals associated with the migrant
    caravan by placing lookouts on them. To the contrary, the evidence suggests
    CBP placed most lookouts to seek information that would help CBP respond to
    the migrant caravan.

    CBP officials in the EOC’s Intelligence Section placed most of the caravan-
    related lookouts and tasked officers from the Tactical Terrorism Response
    Team (TTRT)12 with conducting the resulting secondary inspections. Within the
    San Diego Sector, where the migrant caravan was expected to arrive, the EOC
    took several steps to help the TTRT officers collect and report back useful
    information to the EOC. At the outset of the operation, the EOC provided TTRT
    officers with a list of general topics to explore in their caravan-related
    interviews, such as information about the traveler’s involvement in the migrant
    caravan, the “mood” of the migrant caravan, whether anyone was inciting
    violence, and whether the traveler could identify other people from a photo
    lineup. Additionally, upon placing most lookouts, EOC personnel provided the
    TTRT with one-page “target profiles,” which included information such as the
    individual’s picture, basic biographical data, and recent border crossing
    history. The EOC also invited TTRT officers to ask for assistance if questions
    arose in specific interviews, and TTRT officers told us they often contacted the
    EOC before beginning interviews. Finally, the EOC instructed TTRT officers to
    create a report documenting the substance of the interviews, which they did for
    most initial interviews.

    To further assess whether CBP placed lookouts for legitimate or retaliatory
    purposes, we also reviewed the specific circumstances of the lookouts on 51
    U.S. citizens, and the secondary inspections that resulted from these
    lookouts.13 In particular, we reviewed whether CBP could articulate a
    legitimate law enforcement purpose for placing each lookout and whether it
    sought information relevant to that purpose in the resulting interviews. If CBP
                                  
    12 TTRT officers typically conduct inspections of travelers identified within terrorism screening
    databases. Before being detailed to the EOC, several CBP officials responsible for the caravan-
    related lookouts worked closely with the TTRT, and therefore asked the TTRT to conduct the
    caravan-related interviews.
    13 We identified 46 of the 51 lookouts in CBP documents, and the remaining 5 in media

    articles. Four of the lookouts that we identified in CBP documents were placed by U.S.
    Immigration and Customs Enforcement agents rather than CBP officials. We included these
    four lookouts in our analysis because they were part of CBP’s targeting of caravan associates.
    We are not aware of any other caravan-related lookouts that CBP placed on U.S. citizens. The
    CBP documents we reviewed do not purport to be complete lists, so there could be others.


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    placed lookouts to harass individuals associated with the migrant caravan,
    CBP would be unable to explain why it placed the lookouts, or that it might
    have had little concern for the information gathered in the interviews.
    Alternatively, if the lookouts were placed for legitimate law enforcement
    reasons, we would expect CBP to be able to explain what those reasons were
    and to have actually asked the individuals about those topics.

    CBP appears to have used the lookouts to seek information about possible
    illegal activity. CBP placed approximately half of the caravan-related lookouts
    on individuals suspected of inciting violence at the border, or others who might
    have information about those individuals. CBP also placed lookouts on several
    individuals suspected of involvement in marriage fraud, purportedly to assist
    migrants with their asylum claims. In addition, CBP placed lookouts on
    individuals suspected of organizing and leading the migrant caravan, as well as
    others suspected of being associated with individuals or organizations leading
    the migrant caravan. CBP targeted these individuals on the premise that
    migrant caravan organizers and leaders could be helping to facilitate illegal
    entry.14

    CBP’s inspections were generally consistent with the claimed purpose of the
    lookouts, and officers usually documented and shared the information
    obtained during these inspections.15 For example, TTRT officers asked
    individuals who were suspected of involvement in the January 1, 2019
    incursion about their whereabouts on that night, and sought information
    about the incident from those who were present. Likewise, TTRT officers asked
    suspected migrant caravan organizers about their activities in support of the
    migrant caravan. TTRT officers usually emailed EOC officials with reports of
    their interviews, and the EOC then shared information about most interviews
    in daily leadership briefs. These actions support that CBP had a legitimate
    interest and purpose for these inspections.

    However, in some instances, CBP’s inspections were not consistent with the
    purported purpose of the lookouts. Lookouts that CBP placed on a particular
    group of journalists raise the most serious concerns. Although we found no
                                 
    14 In examining whether CBP documented legitimate reasons for placing the lookouts, we did
    not judge the soundness of this premise and did not otherwise evaluate the strength of the
    evidence supporting CBP’s lookouts. Even though in the following paragraphs we note some
    lookouts that appear in hindsight to be based on particularly attenuated connections to
    suspected illegal activity, we acknowledge the information may have appeared differently to
    CBP officials making real-time decisions.
    15 Although CBP usually documented the information obtained during its initial inspections of

    individuals with caravan-related lookouts, CBP often did not have detailed interview records for
    repeat inspections of the same individuals. Later in this report, we discuss how some of these
    repeat inspections may have been unnecessary.


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    evidence in emails or interviews that the EOC official who placed these
    lookouts (EOC Official 1) did so to harass the journalists or for any other
    ulterior reasons, his16 subsequent actions, or lack thereof, demonstrate he did
    not need to place the lookouts.

    During Operation Secure Line, CBP officials noticed that individuals with
    cameras were sometimes present when large groups attempted to cross the
    border illegally. Because this happened multiple times, and in unusual
    locations or times, such as the middle of the night, CBP officials suspected the
    individuals with cameras were media, and might be assisting the illegal border
    crossings. In one incident, Mexican police identified five American journalists
    after CBP officials alerted them that CBP officials observed members of the
    media helping migrants climb a border fence. EOC Official 1 then placed
    lookouts on the five journalists. The lookouts did not mention the illegal
    crossing but instructed interviewing officers where to find information about
    the journalists.

    Although EOC Official 1 told us the purpose of these lookouts was to determine
    whether the journalists had information about the incident, his actions show
    he actually had no interest in that information. Over the following weeks, all
    five journalists came back to the United States, and CBP referred them to
    secondary inspection. Interview records reflect that none of the five journalists
    were asked about the illegal crossing.17 In fact, the journalists returned to the
    United States at various places and times and were therefore interviewed by
    several different officers. None of the officers asked about the illegal crossing.
    Yet, EOC Official 1 apparently never followed up with any of the interviewing
    officers individually, or with the TTRT as a whole, to ask why they did not seek
    that information or to request that they do so in the future.

    EOC Official 1 placed more caravan-related lookouts than anyone else and was
    in regular contact with the TTRT throughout Operation Secure Line. If he
    wanted to know whether the journalists had information about this incident or
    other illegal border crossings, he knew how to contact the TTRT. Additionally,
    EOC Official 1 removed one of the lookouts after the journalist’s third
    interview, even though according to the interview record, CBP never asked the
    journalist about the illegal border crossing. If EOC Official 1 no longer needed

                                 
    16 Throughout this report, one gender pronoun is used regardless of the individual’s actual
    gender to avoid identification of individuals by gender. 
    17 Some of the interview records included general statements about not assisting migrants

    while reporting on the migrant caravan, but none reflect questions about this specific incident
    or any other illegal border crossings. In one of the interview records, the journalist mentions
    that Mexican police photographed his identification during an encounter near the border, but
    there is no further discussion about that event.


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    information about the illegal border crossing at that point, then he also did not
    need the information when he placed the lookout 9 days earlier.18

    We identified other instances of CBP officers not documenting information they
    obtained during caravan-related inspections or not seeking information related
    to the purported purpose of the lookout. But these appear to be inadvertent
    mistakes; other evidence suggests CBP was not trying to harass or intimidate
    these same individuals. For example:

         x   There are no interview records for a suspected migrant caravan organizer
             who arrived at a port of entry in Arizona, so we cannot determine
             whether CBP sought information that was relevant to the purpose of the
             lookout. When the individual arrived at the same port of entry 2 days
             after his initial crossing, officers contacted the official who placed the
             lookout. He advised them to release the individual. Records also show
             the individual was again released when he arrived at the same port of
             entry the next day. If the lookout was intended to harass this U.S
             citizen, the official who placed the lookout could have advised the port of
             entry to continue interviewing the individual, but the official advised to
             release him.

         x   TTRT officers did not ask a person suspected of marriage fraud about
             that topic, but the evidence suggests the officers who interviewed this
             individual may not have been aware of the marriage fraud concern at the
             time of the interview.19 Additionally, on the day after the interview, the
             EOC official who placed the lookout emailed TTRT officers to request that
             they ask about possible marriage fraud if the individual crossed again.
             This suggests that the EOC official’s concern about potential marriage
             fraud was legitimate and not a pretext for harassing the individual.20

         x   A CBP intelligence official who was not part of the EOC placed a lookout
             on a journalist after finding a YouTube video of his coverage of the
             January 1, 2019 border incursion. In the lookout, the intelligence official
             wrote the journalist was in “possession of journalistic evidence” of the
             border incursion and “may be involved with inciting caravan migrants to
                                 
    18 EOC Official 1 did not tell us that he received any new information that obviated the need for
    the interview, and our review of EOC Official 1’s emails did not find that he received any new
    information about this journalist.
    19 The lookout did not mention marriage fraud. A few days before the individual arrived at the

    port of entry, the EOC emailed information about this person and others to the TTRT but by
    the time of the interview, the TTRT officers may not have remembered this individual was
    specifically named in the email they received days earlier.
    20 We also found documentary evidence of the marriage fraud concern. 




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           attempt illegal entry.” In the following weeks, the journalist twice
           returned to U.S. airports. In both instances, officers at the airports did
           not call the intelligence official or record any information other than the
           journalist’s occupation and employer. Although the intelligence official
           received notifications of the encounters, he did not follow up with the
           officers at the airports. This disconnect is likely due to the inexperience
           of both the interviewing officers and the intelligence official. CBP officers
           at airports did not regularly encounter people with caravan-related
           lookouts, and the evidence suggests they might not have understood the
           lookout. Additionally, the intelligence official was relatively new to his
           role, and this was the first time he placed a lookout to request a
           secondary inspection. When the journalist returned to the United States
           a third time, the officers contacted the intelligence official and then asked
           the journalist about the January 1 incident.

    Some Migrant Caravan Lookouts Did Not Fully Comply with CBP Policy

    Although we determined that CBP’s caravan-related lookouts were not intended
    to harass or intimidate caravan associates, we also found CBP officials did not
    always follow CBP policy related to lookouts. First, many officials were
    unaware of CBP’s policy related to placing lookouts and therefore placed
    lookouts for reasons that may not have been permitted by the policy.
    Additionally, CBP officials did not monitor or remove lookouts as required by
    CBP policy.

    CBP Officials May Have Placed Some Lookouts for Unpermitted Reasons

    As outlined earlier, the TECS Directive provides the standard for placing
    lookouts: lookouts must be placed for “legitimate law enforcement purposes”
    and shouldnever be entered as a “prank” or “joke,” or for “retaliatory reasons.”
    Additionally, CBP may place lookouts “only if illegal activity is suspected. The
    system will not allow a user to indicate that a ‘non-suspect’ is on ‘lookout.’”
    This last sentence has two possible interpretations. It could mean officials may
    place lookouts only on people who are suspects of illegal activity, and not on
    non-suspects; or it could be a description of how the TECS system works.21


                                  
    21Lookouts appear to be a type of “TECS record” or “TECS subject record,” but the TECS
    Directive does not define those terms. While the TECS Directive says CBP may place lookouts
    only when illegal activity is suspected, it allows CBP to create “TECS records” or “TECS subject
    records” even when there is no suspicion of illegal activity. The TECS Directive states, “TECS
    records should be created when the subject is deemed to be of enforcement interest … based
    on previous violations, suspicion of violations or simply a result of a business or occupation in
    which the Federal law enforcement community has an interest. The nature of the interest is to


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    All CBP’s caravan-related lookouts were related in some way to suspected
    criminal activity. However, nearly half of the caravan-related lookouts (25 out
    of 51) were on people for whom there was no evidence of direct involvement in
    illegal activity. Instead, those lookouts were based solely on the individuals’
    associations with other people who were suspected of illegal activity. For
    example, CBP officials placed lookouts on 15 U.S. citizens who either
    previously crossed the border with, or were connected on social media to, a
    person whom CBP suspected of planning violence at the border. CBP had no
    information to suggest these 15 individuals might be involved in planning
    violence or were present at one of the incursions. In other cases, CBP officials
    placed lookouts on U.S. citizens with attenuated connections to people or
    organizations believed to be leading the migrant caravan. In one instance, a
    CBP official placed lookouts on two attorneys who previously crossed the
    border with someone who was believed to be an administrator of a caravan-
    related online chat group on WhatsApp.22 In another example, after a
    suspected migrant caravan organizer was seen riding in a vehicle, the EOC
    placed lookouts not only on the owner of that vehicle but also on someone who
    crossed the border with the vehicle owner one time, 9 months earlier, well
    before the migrant caravan started traveling towards the United States.

    We have no reason to doubt that the CBP officials who placed these lookouts
    believed the lookout subjects might have useful information about potential
    criminal activity. However, as explained earlier, the TECS Directive might not
    allow CBP officials to place lookouts on non-suspects who might have useful
    information about other individuals’ criminal activity. CBP officials were not
    aware of this ambiguity, as many of them told us they were not aware of any
    policies related to the proper bases for placing lookouts or had not received any
    training on the issue. Consequently, the officials did not have consistent
    understandings about when they could place lookouts. Some CBP officials
    stated that lookouts require a connection to illegal activity. But other CBP
    officials, including a senior San Diego Sector official and a senior official
    responsible for TECS, contradicted the TECS Directive, stating CBP can place
    lookouts for virtually any reason, including when there is no suspicion of illegal
    activity. And although the TECS Directive might prohibit placing lookouts on
    non-suspects, no CBP official noted this possibility.



                                 
    be reflected in the Status Code, i.e., whether the subject is a suspect or non-suspect.” TECS
    subject records should be created on “subjects who are currently or potentially of investigative
    interest,” including “investigative targets, violators, suspects, corporations, businesses and
    associates.”
    22 WhatsApp is a social messaging platform that facilitates the exchange of encrypted messages

    and calls.


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    If the TECS Directive is interpreted to prohibit placing lookouts on non-
    suspects, then nearly half of the caravan-related lookouts may have violated
    the TECS Directive. If the alternative interpretation is correct, that the TECS
    Directive permits lookouts on non-suspects, then the caravan-related lookouts
    did not violate the Directive. However, regardless of which interpretation is
    correct, the Directive’s ambiguous language and CBP’s absence of training and
    guidance leave officials without a clear understanding of the proper bases for
    placing lookouts.

    CBP Subjected U.S. Citizens to Unnecessary Secondary Inspections by Not
    Promptly Removing Lookouts

    CBP officials are responsible for updating their lookouts as new information is
    developed, including removing lookouts that are no longer needed. According
    to the TECS Directive, “inaccurate, irrelevant or out-of-date records” create a
    risk that the “agency will make an adverse determination about an individual.”
    Consequently, officials who create and maintain lookouts (lookout owners) are
    responsible for “[m]aking appropriate modifications to existing records
    whenever new information is developed or original information becomes
    obsolete.” A high-level EOC official confirmed that CBP officials should
    reevaluate lookouts after every inspection, to determine whether to keep them
    active.

    Yet, CBP officials did not remove many caravan-related lookouts once they were
    no longer necessary. Although it might be appropriate to maintain lookouts in
    certain situations,23 TTRT and EOC officials acknowledged CBP should have
    removed many caravan-related lookouts after it first interviewed the U.S.
    citizens.

    Two TTRT officers who conducted caravan-related interviews did not believe
    there was a need to interview many of those individuals multiple times. One
    officer said that TTRT did not obtain any valuable information during the
    follow-up interviews, and that EOC officials should have removed lookouts on
    “reporters and photographers” after their first referral to secondary inspection.
    Another officer stated he called EOC officials on multiple occasions to ask them
    to remove lookouts, but they did not do so.

    EOC Official 1, who was primarily responsible for placing caravan-related
    lookouts at the EOC, also told us that many U.S. citizens did not need to be
    interviewed multiple times. Accordingly, EOC Official 1 claimed he went into

                                 
    23For example, CBP officials told us that officials typically maintain lookouts on suspected
    smugglers or for other strategic reasons.


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    TECS and removed caravan-related lookouts after individuals were interviewed,
    but review of TECS data revealed that EOC Official 1 did not remove any of his
    lookouts on U.S. citizens following their first border crossings. When presented
    with this information, he maintained that he tried to remove many lookouts
    and speculated that a technical glitch may have prevented that from
    happening,24 but we confirmed that no such glitch occurred. Instead, the
    evidence demonstrates that EOC Official 1 did not try to remove 18 of his 20
    lookouts that resulted in secondary inspections.25

    In fact, EOC Official 1 did not reevaluate or remove his lookouts when he
    finished his EOC detail at the end of January 2019. Instead, he and his
    supervisor transferred at least 31 caravan-related lookouts to other EOC
    personnel without giving any notice or instruction. One official who inherited
    several of those lookouts stated he did not even learn he was assigned to those
    lookouts until CBP officers contacted him as they were about to interview the
    individuals. He recalled that one of the first times this happened, he reached
    out to EOC Official 1, who originally placed the lookout. EOC Official 1 told
    him the lookout was no longer necessary, even though he had transferred it to
    him just days earlier. Still, after this discovery, the EOC did not systematically
    review the remaining lookouts. Instead, the lookouts remained in place for 2
    more weeks, until a media story calling attention to the lookouts spurred the
    EOC to review and remove 18 caravan-related lookouts it determined were no
    longer necessary.26

    In total, 39 U.S. citizens with caravan-related lookouts attempted to enter the
    United States at least once and were referred to secondary inspection.27
    Although TTRT officers and EOC Official 1 told us many of those individuals
    did not need to be re-interviewed, only 5 of those 39 lookouts were removed
    after the first referral. Of the 34 U.S citizens whose lookouts remained active
                                
    24 EOC Official 1 asserted that while his supervisor instructed him to keep certain lookouts
    active, many of his lookouts should have been removed. In addition to the technical glitch, he
    speculated that he might not have promptly removed some of his lookouts because TTRT
    officers took a long time to write reports of their interviews.
    25 EOC Official 1 eventually removed two caravan-related lookouts after the individuals on

    those lookouts were referred to secondary inspection multiple times. As previously discussed,
    he removed a lookout on a U.S. journalist who was interviewed three times. In another
    instance, an individual crossed twice within a week. The TTRT officer assigned to conduct the
    second interview contacted EOC Official 1 to ask if another interview was necessary. EOC
    Official 1 told him it was not and then removed the lookout.
    26 EOC personnel who inherited the transferred lookouts claimed the head of the EOC

    Intelligence Section instructed them to keep the caravan-related lookouts active while CBP’s
    response to the migrant caravan was ongoing. The head of the EOC Intelligence Section denied
    providing this instruction.
    27 The remaining 12 U.S. citizens with lookouts were not inspected by CBP, because they did

    not attempt to enter the United States during this time.


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    after their first referral, 18 reentered the United States at least once, and all 18
    were referred to secondary inspection again. Figure 1 depicts inspections of
    U.S. citizens with caravan-related lookouts.

    Figure 1. Initial and Repeat Inspections of U.S. Citizens with Caravan-
    Related Lookouts




    Source: DHS OIG analysis of CBP-provided data

    Some U.S. citizens were referred to secondary inspection multiple times, even
    though the EOC officials who placed the lookouts showed no interest in what
    was discussed during several of the follow-up interviews. For example:

         x   One individual was referred to secondary inspection six times in 1
             month. An EOC official (EOC Official 2) placed this lookout to obtain a
             phone number and information about a different person, yet there is no
             evidence the TTRT officers asked the individual about that other person
             in any of the six inspections.28 During the second inspection, the
             individual was handcuffed to a bench, possibly for several hours, until
                                 
    28 The report from the first interview notes the individual was generally hesitant to provide
    information about other individuals, but the report does not say whether the TTRT officers
    asked him about any specific individual. Documentation from the subsequent inspections
    reflects that TTRT asked him only about himself and not about other individuals.


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             the TTRT officers arrived for an interview.29 The TTRT officers also
             manually searched his phone but did not document what information
             was sought or obtained, leaving in question whether the search served
             any purpose.30 EOC Official 2 apparently never made any effort to learn
             what was discussed in the follow-up inspections or what was found on
             the individual’s phone.31 EOC Official 2 told us he might have lost track
             of this individual.

         x   A U.S. citizen associated with an organization supporting the migrant
             caravan was referred to secondary inspection four times between
             December 2018 and January 2019. The records from the second and
             third interviews indicate that CBP did not obtain any new or different
             information from what was discussed in the first interview, and TTRT
             officers did not document the fourth interview. There is no evidence that
             EOC Official 1, the lookout owner, followed up with the officers, and he
             never removed the lookout. The individual told us that he became
             nervous and lost sleep in anticipation of secondary inspection. He
             eventually decided to stop crossing the border to avoid additional
             inspections, which prevented him from visiting family and friends, and
             from providing humanitarian assistance to migrants.


                                  
    29 CBP’s system shows that CBP held this individual in secondary inspection for 6 hours, but it
    is unclear whether this is accurate. CBP officers manually enter start and stop times of
    secondary inspections, and data we reviewed indicate that officers do not always consistently
    or accurately record these times. TTRT officers told us this individual was handcuffed because
    he was interviewed in a security office that required handcuffs as a protocol after an unrelated
    security incident and not because of anything he said or did. We did not evaluate the legality
    of the security office protocol.
    30 In order to search electronic devices, officers must provide, and supervisors need to approve,

    “a clear and detailed description of the reasons for the Officer’s decision to search or to detain”
    the device. Memorandum from Executive Director, Operations, Office of Field Operations to
    Directors, Field Operations and Director, Preclearance, Office of Field Operations, re: Border
    Search of Electronic Devices – Field Guidance, Jan. 12, 2018. The officer completed the proper
    form to record this search but did not include the reason for the search. Therefore, even
    though the officer’s supervisor approved the form, he did not review and confirm the
    justification for the search. Additionally, although CBP’s policy does not require officers to
    document what they find on electronic devices, both the officer and his supervisor admitted
    that the officer should have documented what he found on the phone. In addition to this
    search, we found four other instances of CBP searching electronic devices of Americans during
    caravan-related inspections. CBP properly documented three of these searches, but in one of
    the four instances, the officer did not obtain supervisory approval for the search and did not
    document the search, as required by the CBP policy.
    31 We identified an email showing EOC Official 2 attempting to follow up with TTRT officers

    after the individual’s first interview, to inquire about the information obtained, but we could
    not determine whether he successfully connected with the TTRT officers. We found no
    evidence of similar attempts, following the subsequent five inspections.


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    Based on our review of all available evidence, we were unable to determine why
    CBP did not remove unnecessary caravan-related lookouts. We found no direct
    evidence that CBP kept lookouts active to harass, intimidate, or retaliate
    against caravan associates. However, EOC Official 1’s vague explanation for
    not removing lookouts, and the EOC’s disinterest in the repeat interviews,
    suggest it may not have been entirely accidental. Regardless of whether the
    EOC intended to punish or dissuade U.S. citizens from traveling between
    Mexico and the United States, subjecting them to repeated unnecessary
    inspections can have that effect, as the individual who was referred to
    secondary inspection four times explained.

    Although the TECS Directive requires CBP officials to modify obsolete lookouts,
    CBP has few controls to ensure that officials comply with the requirement. The
    TECS Directive does not provide specific timeframes or procedures for officials
    to promptly remove unnecessary lookouts, and CBP provides no other formal
    guidance or training on the issue. CBP should implement new policies,
    guidance, or training to help officials appropriately update and remove
    lookouts. CBP should also develop new automated controls in the TECS
    system to help officials monitor lookouts. At the time of our review, the TECS
    system had automated rules in place to notify lookout owners and remove
    some lookouts based on certain criteria, but the system only applied that
    functionality when a supervisor has not approved a lookout. When supervisors
    approve lookouts (as they are supposed to do), there were no such automated
    controls. As a result, frequent border crossers are repeatedly sent to secondary
    inspection, unless and until the lookout owner goes into TECS to manually
    remove the lookout. New system features that automatically delete or at least
    notify lookout owners of their potentially stale lookouts could help officials
    better comply with the TECS Directive.

    CBP Inappropriately Asked Mexico to Deny Entry to at Least 14
    U.S. Citizens Affiliated with the Migrant Caravan

    In January and February 2019, Mexican officials denied entry to at least four
    U.S. citizens associated with the migrant caravan. Some of these individuals
    claimed Mexican officials told them they could not enter Mexico because
    another country placed alerts on their passports. We found that, in December
    2018, a CBP official asked Mexico to deny entry to 14 U.S. citizens affiliated
    with the migrant caravan, including one individual who was subsequently
    denied entry into Mexico. CBP may restrict Americans’ rights to travel
    internationally in certain circumstances, but CBP could not articulate any
    genuine basis for sending this request and in fact later admitted that the
    reasons provided to Mexico were not true. CBP officials at various levels who
    knew of the request, including the official who oversaw CBP’s entire regional


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    response to the migrant caravan, denied or minimized their involvement and
    told us the request was neither typical nor appropriate.

    Additionally, this may not have been the only time that CBP asked Mexico to
    deny entry to U.S. citizens associated with the migrant caravan. We found that
    on eight other occasions, CBP officials improperly sent Mexico the names and
    sensitive information of dozens of additional U.S. citizens, and some of those
    individuals were later denied entry into Mexico.32 However, because these CBP
    officials did not comply with CBP policies on sharing information with foreign
    entities and did not retain communication records, we cannot determine
    whether the officials asked Mexico to deny entry to those Americans.

    CBP Had No Genuine Basis for Requesting that Mexico Deny Entry to 14
    U.S. Citizens Affiliated with the Migrant Caravan

    On December 10, 2018, a CBP official in San Diego’s FOB33 (FOB Official 1)
    emailed an unencrypted list of 24 migrant caravan “organizers/instigators,”
    including 14 Americans, to a Mexican immigration official. FOB Official 1
    identified the individuals by name, date of birth, and nationality, and explicitly
    requested that Mexico prevent the individuals from entering Mexico and
    instead return them to the United States.34

    Figure 2. CBP Email to Mexican Official
         Hello [First Name],

           CBP has identified the following individuals as part of the
           organizers/instigators of the migrant caravan that’s currently in
           Tijuana. Most of these people are United States citizens, and it’s
           highly likely that they lack the proper documentation to be in
           Mexico. CBP wishes to interview them all and respectfully
           requests that [Mexican Immigration] deny them entry into Mexico.
           If located, please return them to the United States so that CBP can
           proceed with their interview.

           Your attention and assistance are greatly appreciated.
    Source: CBP email obtained by DHS OIG


                                
    32 In response to litigation filed by some of these individuals, CBP denied placing alerts on
    them.
    33 The FOB is composed of CBP liaison officers who convey and receive information to and from

    Mexico and other foreign nations on CBP’s behalf.
    34 The original email was written in Spanish. This English translation was performed by a

    professional translation service.


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    The right to travel, including the right to international travel, is a part of the
    “liberty” of which American citizens cannot be deprived without the due
    process of law under the Fifth Amendment.35 In certain circumstances, the
    Federal government may reasonably regulate American citizens’ right to
    international travel, such as in the interest of national security or foreign
    policy.36 Despite the constitutional implications of restricting international
    travel, CBP has no policies, procedures, guidance, or training that specifically
    address asking or advising foreign countries to deny entry to Americans. CBP
    officials identified two scenarios that might allow for actions similar to asking
    another country to deny entry to Americans. First, under the Joint Security
    Program, CBP officials are present in foreign airports to partner with the host
    countries to identify and interdict high-risk travelers. However, according to
    the Joint Security Program Director, the program does not “request” or
    “instruct” other countries to deny entry to certain individuals. Instead, the
    program “advises” other countries about high-risk travelers, and it only does so
    when there is an outstanding warrant or another connection to a crime.
    Second, CBP officials told us they might notify Mexico to “be on the lookout” in
    exigent situations involving criminal suspects trying to flee to Mexico.

    Here, FOB Official 1, another CBP official who drafted the email, and a third
    CBP official who was copied on FOB Official 1’s email, could not identify any
    specific concerns about most of the Americans and others listed in the email.
    Nor could they explain how any national security or foreign policy concerns, or
    exigent situations applied to those U.S. citizens’ situations.

    Specifically, FOB Official 1 could not offer any reasons to us for asking Mexico
    to deny entry to the 24 individuals listed in his email. He could not recall
    anything about most of the 24 individuals, other than he did not think they
    were involved in illegal activity. In fact, FOB Official 1 initially denied that he
    ever asked Mexico to reject any individuals and insisted he did not remember
    this email until we showed it to him. FOB Official 1’s concerns about the 24
    individuals could not have been particularly serious, because when we
    interviewed him, he could not recall what the concerns were or why they
    prompted him to ask Mexico to deny entry to those individuals, even though he
    said this was the first and only time he ever sent such a request.

    Other CBP officials involved with FOB Official 1’s email were similarly unable to
    articulate specific concerns about the 24 individuals. One of FOB Official 1’s
    colleagues sent him an English version of the email (without the 24 names)
    about an hour before FOB Official 1 sent the email in Spanish to the Mexican
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    35See, e.g., Kent v. Dulles, 357 U.S. 116, 125–26 (1958).
    36See, e.g., Haig v. Agee, 453 U.S. 280, 291, 306 (1981); Zemel v. Rusk, 381 U.S. 1, 13–16
    (1965).


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    official. This colleague denied any role in preparing the list of individuals,
    stated he was only familiar with one individual on the list, and admitted he did
    not know what information CBP hoped to learn in interviews with the
    individuals. Another CBP official who FOB Official 1 copied on his email to
    Mexico stated CBP was trying to prevent disorder at ports of entry. Yet, he
    could not articulate how the 24 individuals might be connected to any potential
    disorder, what information CBP had about the potential disorder, or any
    specific concerns about the individuals.

    Additionally, our interviews of FOB Official 1 and the two other CBP officials
    indicate the first reason he provided to Mexico to support the request — that
    the 24 individuals probably did not have proper travel documents — was not
    genuine.37 FOB Official 1 admitted CBP had “noknowledge of whether they did
    or didn’t have documentation” when he sent the request, and one of the other
    officials told us CBP had “no concern” about whether the individuals violated
    Mexican immigration law. The third official could not explain how CBP
    determined whether the 24 individuals were authorized to travel into Mexico.

    FOB Official 1’s second reason for asking Mexico to prevent the individuals
    from entering the country — that CBP “wishe[d] to interview them all” — also
    does not seem to be supported by the facts. CBP did not interview one of the
    Americans after Mexico denied his entry. Approximately a month after FOB
    Official 1’s email, Mexico notified the FOB that it was denying entry to this
    American. Yet, once Mexico returned the American to a U.S. port of entry, CBP
    released him without an interview. FOB officials told us no TTRT or FOB
    officers were available to interview the individual. If interviewing this
    individual was important enough to request that Mexico deny him entry, one
    might expect CBP officials would have been concerned when he was not
    interviewed at the port of entry. Yet, nobody expressed concern — either to us,
    or in any of the contemporaneous emails we reviewed — about missing the
    opportunity to interview the individual.38 Thus, CBP apparently had no need
    to request that Mexico deny him entry.39

    Not only were these three CBP officials unable to provide a genuine basis for
    asking Mexico to deny entry to the 24 individuals, but they and other officials

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    37 Notably, the email identified several of the 24 individuals as Mexican nationals, but it did not
    address why those individuals would not have proper documents to enter their home country.
    38 CBP did not interview this individual any time between FOB Official 1’s email and when

    Mexico returned him to the United States. The CBP officials did not point out any intervening
    events that rendered his interview unnecessary, and we found no evidence of any such
    intervening events.
    39 We did not find any instances of Mexico denying entry to the other 13 Americans listed in

    FOB Official 1’s December 10 email.


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    did not admit directing or authorizing the request. Instead, they said the FOB
    was merely a conduit for passing the request to Mexico on behalf of the EOC.
    In particular, FOB Official 1 believed EOC Official 2 asked him to send the
    request to Mexico. In fact, just 5 days before FOB Official 1 asked the Mexican
    official to deny entry to 24 individuals, EOC Official 2 sent FOB Official 1
    “target profiles” for those same 24 individuals.

    Nevertheless, EOC Official 2 and his chain of command did not admit
    involvement with FOB Official 1’s request and told us the request was not
    proper or normal. EOC Official 2 disclaimed involvement with the request and
    told us FOB Official 1 should not have sent it, but he could not explain why he
    sent the 24 target profiles to FOB Official 1.40 Additionally, the day after FOB
    Official 1 sent the request to Mexico, he forwarded the request to EOC Official
    2, who then forwarded it to his supervisor (EOC Official 3). EOC Official 3 did
    not recall seeing the request to Mexico and stated he would not normally be
    involved with such a request, but he could not explain why EOC Official 2
    forwarded him the email.

    EOC Official 3’s supervisor (EOC Official 4), also denied directing, approving, or
    being involved with the request to Mexico. He stated he did not recall hearing
    about the request. Yet, contemporaneous emails show that just hours after the
    request, EOC Official 4 was “asking if a list of [Americans] was provided ... to
    [Mexico] to deny them entry into Mexico” and that he spoke to FOB Official 1
    about the request.41 According to EOC Official 4, CBP only shares personally
    identifiable information about Americans with Mexico in rare instances (such
    as if an American is wanted by Mexican law enforcement relating to serious
    concerns) and that requests to deny entry should be routed through consulates
    or embassies. Therefore, EOC Official 4 speculated he probably asked about
    the request because he was concerned about it. However, another possible
    explanation is that EOC Official 4 directed the request and was confirming that
    someone had carried out his instruction. In particular, if someone was truly
    concerned about this request, we would expect him to recall asking about the
    request, express his concern or disapproval in writing, admonish FOB Official 1
    for sending the request, or take corrective action. We did not find any evidence
    of such actions.



                                 
    40 EOC Official 2 and other EOC officials previously placed lookouts on some of the U.S.
    citizens included in FOB Official 1’s request. Even though they articulated legitimate law
    enforcement reasons for placing those lookouts and may have been interested in interviewing
    those individuals, they did not state that asking Mexico to deny entry to those individuals was
    appropriate or necessary to conduct the interviews.
    41 FOB Official 1 said he did not recall speaking with the EOC Official 4 about the request.




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    CBP Officials May Have Asked Mexico to Deny Entry to Numerous
    Additional U.S. Citizens Whose Personally Identifiable Information They
    Inappropriately Disclosed

    FOB Official 1 was not the only CBP official who shared the names and
    information of U.S. citizens with a Mexican official. Three other CBP officials
    provided caravan associates’ names and Sensitive Personally Identifiable
    Information (SPII)42 to Mexican officials on at least eight occasions.43 We
    cannot confirm whether these officials asked Mexico to deny entry to the
    individuals, because the officials did not follow CBP policies on sharing
    information with foreign entities and did not retain communication records.

    Three Additional CBP Officials Disclosed Information about U.S. Citizens to
    Mexico

    At a January 2019 meeting with Mexican officials, an FOB official (FOB Official
    2) shared two documents, including a PowerPoint presentation with pictures,
    names, dates of birth, countries of citizenship, and other information about
    dozens of American and foreign nationals.44 FOB Official 2 said the main focus
    of the meeting with Mexico was to discuss how to stop the individuals listed on
    the PowerPoint frominciting violence and instigating mass incursions, and that
    he tasked Mexican officials with “increasing their enforcement posture.”45 FOB
    Official 2 did not deny that he asked Mexico to reject the people on the
    PowerPoint. In fact, he acknowledged that they discussed possibly preventing
    caravan associates from entering Mexico but stated he could not recall whether
    CBP specifically asked Mexico to do so. FOB Official 2 also told us that after
    the January meeting, he sent a copy of the PowerPoint to the Regional Director
    for a Mexican government immigration agency in a WhatsApp chat message.
                                 
    42 SPII is information that, if lost, compromised, or disclosed without authorization, could
    result in substantial harm, embarrassment, inconvenience, or unfairness to an individual.
    Examples of SPII include driver’s license numbers, passport numbers, and social security
    numbers. Other examples of SPII include citizenship or immigration status, date of birth, and
    criminal history, when paired with the identity of an individual. DHS Privacy Office, Handbook
    for Safeguarding Sensitive PII, Dec. 2017.
    43 We also found instances of CBP officials sending Mexico information about foreign nationals.
    44 In January 2019, an FOB official developed this PowerPoint, which is titled “Migrant Caravan

    FY-2019 Suspected Organizers, Coordinators, Instigators, and Media.” The official who created
    the PowerPoint told us he was not knowledgeable about most of the individuals included in the
    PowerPoint, and he was simply consolidating CBP’s information about the migrant caravan
    from several places into one document to brief the San Diego Sector Border Patrol Chief. In
    March 2019, media articles published leaked excerpts of the PowerPoint.
    45 Although FOB Official 2 told the Mexican officials that the individuals on the PowerPoint

    were inciting violence and instigating mass incursions, he acknowledged to us that the
    PowerPoint was an overly inclusive document and that being on the PowerPoint “doesn’t mean
    you were a bad or a good guy … [it just] means you were associated” with the migrant caravan.


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    However, he did not retain the WhatsApp message transmitting the PowerPoint
    or any other messages with the Mexican official and stated he could not recall
    what he wrote when he sent the PowerPoint.46

    Also, in January 2019 another FOB official (FOB Official 3) used his official
    CBP email account to send unencrypted SPII of six U.S. citizens to a Mexican
    intelligence official’s Yahoo email address. FOB Official 3 told us he sent the
    email so the Mexican official could provide information to help prevent a “very
    serious” threat from occurring.47 Yet, FOB Official 3’s email does not request
    any information from the Mexican official, and instead of mentioning a future
    threat, the email says the six individuals may have been involved in a past
    event. We were unable to clarify this inconsistency or determine the true
    reason FOB Official 3 sent this email, because he admitted deleting
    contemporaneous WhatsApp messages with this Mexican official.48

    There are indications that FOB Official 2 and/or FOB Official 3 might have
    asked Mexico to deny entry to the individuals whose information they provided
    to Mexico.

    FOB Official 2 admitted urging Mexico to do more to stop the caravan
    associates when he shared the PowerPoint with them and conceded that he

                                 
    46 In his initial interview with us, FOB Official 2 repeatedly denied ever providing the names of
    individuals to Mexico or sending the PowerPoint to Mexican officials. We later discovered
    evidence that he shared the PowerPoint with them, including that he retroactively attempted to
    seek approval from his then-supervisor, 2 months after the fact. After we confronted FOB
    Official 2 with this information in a second interview, he admitted sharing the PowerPoint with
    Mexico.
    47 FOB Official 3 claimed the threat, obtained from the Federal Bureau of Investigation (FBI),

    was so serious and imminent that he did not have time to consult with anyone else at CBP or
    to obtain the approval he knew was required to send the information. FOB Official 3 told us
    the FBI previously decided to stop investigating this alleged threat.
    48 On the day before he sent the document with six U.S. citizens’ SPII to a Mexican official, FOB

    Official 3 sent that same document from his official CBP email account to his own personal
    Gmail account. He could not tell us why he did this. That same day, FOB Official 3 also sent
    pictures of several caravan associates’ drivers’ licenses from his personal Gmail account to his
    official CBP account. FOB Official 3 said the Mexican official provided these photographs to
    him on an external drive, and he used his own personal computer and email account because
    he had been instructed not to plug external drives into his CBP computer. Even assuming that
    is true, FOB Official 3 could not explain why the Mexican official provided these photographs to
    him in the first place. Regardless of the reason, these emails violated DHS policy, as DHS
    employees must use only DHS-issued email accounts to send and receive DHS business-
    related communications and may not use non-DHS email accounts to create or send DHS
    records. DHS Directive No. 142-03, Electronic Mail Usage and Maintenance, Jan. 2018. We do
    not know whether FOB Official 3 sent other work-related emails from his personal account,
    including emails to the Mexican official, because we did not access FOB Official 3’s personal
    email account.


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    might have asked Mexico to reject them. Additionally, we found Mexico
    rejected a total of five caravan associates, including four U.S. citizens. Not only
    were all five individuals listed on the PowerPoint, but it also appears that
    Mexico started rejecting these individuals shortly after receiving the
    PowerPoint. We do not know exactly when FOB Official 2 sent the PowerPoint
    to the Mexican official, because he did not retain his WhatsApp messages.
    However, 5 days before Mexico first denied entry to one of the individuals, FOB
    Official 2 sent himself a reminder email to “provide target list to [Government of
    Mexico].” Then, after Mexico rejected this individual, FOB Official 3 informed
    colleagues that the denied individual was on the “target deck” that CBP shared
    with Mexico.49

    Additionally, after Mexico denied entry to two caravan associates in late
    January 2019, FOB Official 3 sent an email to his colleagues, noting of the two
    rejected individuals, “Ambos de los Alertados de la Lista...” or “Both are Alerts
    on the List.” FOB Official 3 stated he did not know what “List” the email was
    referring to, because he copied and pasted this Spanish text from a WhatsApp
    group message that Mexican officials sent. However, it seems unlikely that
    FOB Official 3 would inform colleagues the individuals were on a list if he did
    not know what that list was. In the same email, FOB Official 3 seemed pleased
    about the rejections when he notified colleagues, “[Mexico] started to reject
    entry of people assisting the Caravan in Tijuana…. Now, we just need to figure
    out how to [make] them do the same with the Hondos and Guats....”

    Finally, another CBP official — operating independently from the FOB — also
    disclosed Americans’ SPII to Mexico, but we found no evidence that he asked
    Mexico to deny entry to those Americans. Throughout January and February
    2019, a National Targeting Center (NTC)50 official provided names,
    photographs, and other SPII of U.S. citizens associated with the migrant
    caravan on at least five occasions to a Mexican intelligence official.51 In early
    January 2019, the NTC official agreed to an “internal” and “non-binding”
    agreement between NTC and Mexico’s Intelligence National Center, “to share
    information relating to organizers, inciters, and supporters of the migrant
                                 
    49 FOB Official 3 told us that he was mistaken when he informed his colleagues and that the
    target deck was not actually shared with Mexico, but we have no reason to believe his after-
    the-fact explanation to us is more accurate than the contemporaneous statement he made to
    his colleagues.
    50 Located in the Washington, D.C. region, the NTC collects and analyzes data to identify high

    risk travelers and cargo.
    51 In the first email, the NTC official sent the information to Mexico unencrypted and

    unprotected. He password-protected the information in the subsequent four emails. We also
    identified a sixth instance where the NTC official shared U.S. citizens’ SPII with the Mexican
    intelligence official during the same time period, but those individuals do not appear to be
    affiliated with the migrant caravan.


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    Caravans that are currently transiting Mexico en-route to the United States.”52
    Following this, the NTC official sent emails either requesting information from
    Mexico about certain individuals or responding to Mexico’s requests for
    information about certain individuals. The NTC official said he wanted Mexico
    to provide information about these individuals’ border crossings, to give NTC “a
    better understanding” of their involvement with the migrant caravan. He also
    said he knew the FOB was also sharing information with Mexico, but he never
    coordinated with the FOB and did not know what information the FOB shared
    with Mexico.

    CBP Officials Were Not Authorized to Disclose Information about U.S. Citizens to
    Mexico

    Federal law allows CBP to share information or documents with foreign
    customs and law enforcement agencies when an authorized CBP official
    reasonably believes it is necessary to:

         x   ensure compliance with any law or regulation that CBP enforces;
         x   administer or enforce multilateral or bilateral agreements to which the
             United States is a party; or
         x   assist in “investigative, judicial and quasi-judicial proceedings” in the
             United States.53

    The CBP Disclosure Directive54 prescribes requirements and restrictions, in
    accordance with the above statute and regulation, on sharing information with
    foreign agencies. The Border Patrol and its San Diego Sector have also issued
    additional guidance,55 but CBP’s Office of Field Operations, which houses the
    NTC, has not.

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    52 Although the NTC official forwarded a copy of the agreement to his supervisor, it is unclear if
    they were authorized to enter into such an agreement on behalf of CBP. In particular, CBP
    policy requires that “all agreements or arrangements … providing for the sharing of information
    with a Foreign Authority shall be coordinated with the Office of International Affairs, Privacy
    and Diversity office, and the Office of Chief Counsel.” CBP Directive No. 4320-025A, Disclosure
    of Official Information to Foreign Authorities, Apr. 2014 (CBP Disclosure Directive), Section 5.14.
    The NTC official told us that only he and his supervisor were involved with this agreement, and
    he did not know if the Office of Chief Counsel was consulted.
    53 19 U.S.C. §§ௗ1628(a)(1)-(3); 19 C.F.R. §§ 103.33(a)(1)-(3). Disclosure is also permitted in

    comparable circumstances “undertaken by a foreign customs or law enforcement agency, or in
    relation to a proceeding in a foreign country.” 19 U.S.C. § 1628(a)(4); 19 C.F.R. § 103.33(a)(4).
    54 CBP Directive No. 4320-025A, Disclosure of Official Information to Foreign Authorities, April

    14, 2014.
    55 Memorandum from Chief of the U.S. Border Patrol to All Chief Patrol Agents and All Division

    Chiefs, Record of Information Shared with a Foreign Government Agency, Oct. 27 2014; Richard
    A. Barlow, Chief Patrol Agent, U.S. Border Patrol, San Diego Sector, San Diego Sector, Standard


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    FOB Official 1, FOB Official 2, FOB Official 3, and the NTC official were not
    properly authorized to provide information about U.S. citizens to Mexico. The
    three FOB officials were assigned to the Border Patrol’s San Diego Sector when
    they made their disclosures. The San Diego Sector does not allow its officials
    to provide information about U.S. citizens to foreign entities, unless the FOB
    Assistant Chief, the Division Chief of Operations, and the Sector Office of
    Assistant Chief Counsel all provide advance, written approval.56 FOB Official
    1, FOB Official 2, and FOB Official 3 all made their disclosures without
    securing the proper approvals. The fourth official, the NTC official, claimed his
    supervisor orally authorized him to make each of his five disclosures, but the
    CBP Disclosure Directive does not allow supervisors to authorize disclosures
    without seeing those requests.57 There is no evidence the NTC official ever
    provided his supervisor with Mexico’s written requests for information for four
    of his disclosures, and NTC official made his remaining disclosure proactively,
    without a request from Mexico.

    We Cannot Determine if CBP Officials Asked Mexico to Deny Entry to U.S.
    Citizens Because the Officials Violated Policies on Sharing Information with
    Foreign Entities and Did Not Retain Records

    CBP’s foreign disclosure policies require CBP officials to take several steps to
    record disclosures to foreign entities and to ensure the foreign entities maintain
    and use the information appropriately.58 For example, CBP officials must:

        x   advise foreign entities in writing to, among other things, keep the
            information confidential and use it only for the purpose for which CBP
            provided it;59
        x   mark the documents with appropriate sensitivity notations (e.g., “For
            Official Use Only – Law Enforcement Sensitive”) and warnings that the


                                 
    Operating Procedure, 4320-001, Disclosure of Official Information to Foreign Authorities, Jan.
    2015 (San Diego Disclosure SOP).
    56 San Diego Disclosure SOP, Section 1.6.2.1.
    57 The CBP Disclosure Directive states that “[e]xcept in exigent circumstances, requests by a

    [foreign entity] shall be made in writing and provided to a CBP official delegated the authority
    to provide such information.” This requirement helps ensure that CBP only discloses
    information to foreign entities when a properly delegated official “reasonably believes [it] is
    necessary,” as provided in the relevant statute and regulation. 19 U.S.C. §ௗ1628(a); 19 C.F.R. §
    103.33(a).
    58 CBP may only provide information to a foreign entity if CBP obtains assurances that the

    entity will hold the information in confidence and use it only for the law enforcement purposes
    for which CBP provides it. 19 U.S.C. §ௗ1628(b)(1); 19 C.F.R. § 103.33(b)(1).
    59 CBP Disclosure Directive, Section 5.2; San Diego Disclosure SOP, Section 1.3.2.




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          information is provided by CBP solely for the law enforcement purpose
          supporting the request;60 and
       x maintain a record of all disclosures, including the request, the
          information provided, and the supporting law enforcement reason for
          disclosing the information.61
           
    None of the nine disclosures to Mexico we identified fully complied with these
    requirements. Additionally, some of the disclosures contained SPII but were
    not encrypted as required by DHS policy.62 Appendix C shows OIG analysis of
    compliance tracking for each of the nine disclosures.63

    Because they did not follow CBP’s information-sharing policies, FOB Official 1,
    FOB Official 2, FOB Official 3, and the NTC official could not prove they shared
    the information for appropriate reasons, or what they told or asked Mexico to
    do with the information they shared. For example, FOB Official 1 could not
    offer any reason for asking Mexico to deny entry to 14 U.S. citizens, and FOB
    Official 3 offered conflicting reasons for sending information about U.S. citizens
    to a Mexican official. Because they did not comply with the CBP Disclosure
    Directive’s requirement to record the law enforcement reason for each
    disclosure, they cannot demonstrate whether they reasonably believed the
    disclosures were necessary to support a purpose authorized by the statute and
    regulation. Similarly, we would have known that the CBP officials asked
    Mexico to deny entry to U.S. citizens, if they had recorded that as the reason
    for disclosing the information to Mexico. Alternatively, if the officials had
    recorded a different reason for disclosing the information to Mexico, and

                                 
    60 CBP Disclosure Directive, Section 5.6; San Diego Disclosure SOP, Section 3.2.
    61 CBP Disclosure Directive, Section 5.11 (Each CBP office “shall maintain a record of all

    [foreign] disclosures of official information … such record shall include … a record of the
    request from the Foreign Authority, the information provided or a summary thereof, the
    recipient of the information, and the supporting law enforcement reason for the disclosure.”).
    Additionally, to comply with the Privacy Act, 5 U.S.C. § 552a, when disclosing information
    maintained in a System of Records, CBP must keep a record either in TECS, by filing the DHS
    Privacy Act Disclosure Record form, or through other arrangements made with the CBP Privacy
    and Diversity Office. CBP Disclosure Directive, Section 5.12. In the San Diego Sector, “a log
    will be maintained by the FOB documenting all requests” and officials must complete and file
    the “Record of Information Shared with Foreign Government Agency” form with the CBP Privacy
    and Diversity Office for each foreign disclosure. San Diego Disclosure SOP, Sections 3.2, 3.3.4,
    Attachment 2.
    62 DHS Sensitive Systems Policy Directive 4300A, Version 13.1, Section 5.4.6k, July 2017; See

    also DHS Privacy Policy Directive 047-01-007, Handbook for Safeguarding Sensitive PII, Dec.
    2017.
    63 CBP officials who improperly disclose CBP documents with confidential information are

    subject to discipline. 19 C.F.R. § 103.34. DHS OIG is referring information related to the
    improper foreign disclosures to CBP’s Office of Professional Responsibility for whatever action
    CBP deems appropriate.


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    properly instructed Mexico to use the information only for that purpose, it
    would have shown that they probably did not ask Mexico to deny entry to U.S.
    citizens.

    We are also unable to determine whether the CBP officials asked Mexico to
    deny entry to U.S. citizens because they did not retain records. The Federal
    Records Act requires the heads of Federal agencies to create safeguards to
    prevent the removal or loss of “records.”64 Additionally, Federal employees may
    not create or send Federal records using unofficial electronic accounts unless
    they copy their official electronic messaging account in the original creation or
    transmission of the record, or forward the message to their official account
    within 20 days.65

    DHS policy requires its employees to “create, receive, and maintain official
    records providing adequate and proper documentation in support of DHS
    activities” and to “ensure all records are properly maintained.”66 DHS policy
    similarly provides that, “[a]ny communication in which an Agency decision or
    commitment is made or where an action is committed to, that is not otherwise
    documented, needs to be captured,” in “compliance with Federal records
    management laws, regulations, and policies.”67 According to CBP’s Records
    Control Handbook (Records Handbook) in effect during the relevant period,
    electronic Federal records “must be maintained and disposed of in accordance
    with an approved disposition schedules.”68 The Records Handbook further
    states that “[i]nformation created in or received by the Customs Service in
    carrying out its mission constitutes a Federal record.”69 Finally, the Records
    Handbook states “it is the responsibility of the Customs employee to ensure
    that a copy [of an electronic mail record] is preserved by making it a part of the
    official files of Customs,” and provides guidance on which electronic
    communications constitute records:
                                 
    64 44 U.S.C. § 3105; 36 C.F.R. § 1220.30. “Records” are “all recorded information, regardless of
    form or characteristics, made or received by a Federal agency under Federal law or in
    connection with the transaction of public business and preserved or appropriate for
    preservation by that agency or its legitimate successor as evidence of the organization,
    functions, policies, decisions, procedures, operations, or other activities of the United States
    Government or because of the informational value of data in them.” 44 U.S.C. § 3301(a)(1)(A).
    65 44 U.S.C. § 2911.
    66 DHS Directive 141-01, Records and Information, Management, Section V, Aug. 2014.
    67 DHS Policy Directive 141-03, Memorandum from Claire M. Grady, Under Secretary for

    Management to Component Heads, Attachment: Documenting Electronic Messages and Verbal
    Communications, Feb. 2018.
    68 U.S. Customs Service, Records Control Handbook, CIS HB 2100-05A, Part 3.C, Jan. 2001

    (Records Handbook). The Records Handbook has since been replaced (in June 2019, after the
    end of this report’s review period) with a new version that offers additional guidance on
    maintaining electronic records.
    69 Records Handbook, Part 3.D.




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             An electronic mail message can become a record when created by
             the sender or when received and acted on by the recipient, if the
             message contains substantive information that is necessary to
             adequately and properly document the activities and functions of
             Customs. It should be preserved as an official record.
             …
             Electronic mail documents are nonrecord when they provide no evidence
             of Customs functions and activities, lack information of value on
             Customs activities, duplicate information documented in existing or
             subsequent records, and therefore are not unique.70

    All four CBP officials who sent information to Mexican officials about
    Americans told us they communicated with their Mexican counterparts using
    WhatsApp. None of the four officials retained all their relevant WhatsApp
    messages:

         x   FOB Official 1 and FOB Official 3 said they deleted caravan-related
             messages, including contemporaneous messages with their Mexican
             counterparts, when their details to the FOB ended or when they
             otherwise thought they no longer needed the messages.
         x   FOB Official 2 apparently lost all his WhatsApp data, including the
             transmission of the PowerPoint to his Mexican counterpart, when CBP
             updated his government-issued mobile phone.
         x   The NTC official claimed that before deleting WhatsApp messages, he
             would copy and preserve their content in emails. Nonetheless, he was
             unable to provide us with all messages related to his information
             sharing, including a request from his Mexican counterpart for
             information about an American.71

    The CBP officials’ failure to retain WhatsApp messages likely violated DHS and
    CBP records retention policies, because the messages were information that
    CBP created or received in carrying out its mission and contained substantive
    information that was necessary to adequately and properly document the
    activities and functions of the CBP officials. For example, the CBP officials who
    communicated with Mexico could not answer questions that would have been
    apparent in the deleted messages, such as what information was shared
    between the Mexican and CBP officials, when that information was shared,

                                 
    70 Records Handbook, Part 3.L. 
    71 Unless the four CBP officials’ WhatsApp accounts were their official CBP electronic account,

    they likely violated 44 U.S.C. § 2911, because they did not copy or forward all WhatsApp
    messages to their official CBP accounts.


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    whether any instructions accompanied the shared information, and why the
    information was requested or shared.

    Moreover, the CBP officials’ inability to recall key details about their
    communications with Mexican officials, or in some cases, whether they even
    shared information about U.S. citizens with Mexican officials, raises questions
    about whether there were other instances of Mexican and CBP officials’ sharing
    information about American caravan associates. Complete WhatsApp records
    would have shown whether CBP officials shared U.S. citizens’ SPII with Mexico
    on other occasions.

    The fact that none of these officials retained their WhatsApp messages, and the
    various ways in which that happened, highlights the challenges of satisfactorily
    upholding recordkeeping responsibilities when CBP employees use
    WhatsApp.72 This is particularly troubling given the widespread use of
    WhatsApp during Operation Secure Line. Numerous CBP officials, across
    various offices, regularly used WhatsApp to communicate both with individuals
    and in various WhatsApp groups, some of which contained up to hundreds of
    U.S. and Mexican officials. Yet, these officials did not consistently retain their
    WhatsApp messages or copy or forward them to their official CBP accounts.73

    Finally, it is not clear whether CBP even allows officials to use WhatsApp for
    official business. During Operation Secure Line, CBP had no policies regarding
    the use of WhatsApp. Shortly afterwards, in May 2019, CBP’s Office of
    Information Technology sent conflicting and confusing guidance, stating
    “Although ‘WhatsApp’ is not approved for operational use at CBP, WhatsApp
    users should immediately upgrade to the current version of the app … or
    remove it from any mobile devices.” Warning employees not to use WhatsApp
    for operational use but inviting them to download a new version on their
    government-issued devices could cause confusion among employees.


                                
    72 CBP’s Records Handbook acknowledges that “the ease with which electronically stored
    records can be erased or changed increases the risk of unauthorized destruction of official
    documentation and information.” Records Handbook, Part 3.J. Similarly, the current CBP
    Records Handbook warns that Electronically Stored Information “can be erased or altered.
    This increases the risk of unauthorized destruction of federal records.” CBP Records and
    Information Management Handbook, HB 2100-05B: Records and Information Management
    Handbook, Part 3.J., June 2019.
    73 Many CBP officials told us they primarily used WhatsApp for non-substantive purposes such

    as scheduling, or that the information they received from Mexico was unsolicited and not
    relevant to their work. However, from interviews and reviewing the contents of three CBP-
    issued phones, we confirmed that CBP’s use of WhatsApp was not confined to those purposes
    and that CBP officials also used WhatsApp to send and receive substantive messages that may
    be subject to recordkeeping requirements.


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                                     Conclusion

    CBP’s actions in response to the migrant caravan raised public concerns that
    CBP was inappropriately retaliating against U.S. citizens. Although we did not
    find CBP took these actions to harass, intimidate, or retaliate against caravan
    associates, we identified several issues. First, many CBP officials were
    unaware of CBP’s policy related to placing lookouts and may have inadvertently
    placed some caravan-related lookouts that did not comply with that policy.
    Second, CBP officials did not remove lookouts that were no longer needed,
    resulting in some repeated and unnecessary inspections. Finally, CBP officials
    repeatedly and improperly sent the names and sensitive information of U.S.
    citizens to Mexican officials and inappropriately asked Mexico to deny entry to
    at least 14 of those individuals. Mexico subsequently denied entry to at least
    four U.S. citizens, and CBP cannot fully explain its involvement in these
    denials because CBP officials did not comply with the CBP policies on sharing
    information with foreign agencies and did not retain communication records.

                                 Recommendations

    We recommend the Senior Official Performing the Duties of the Commissioner
    of CBP:

    Recommendation 1: Update Customs Directive No. 4320-003, July 1990
    (TECS Directive) to clarify the appropriate bases for placing lookouts and
    provide training to all CBP officials who have the authority to place lookouts.

    Recommendation 2: Develop and implement procedures to ensure CBP
    officials update and remove lookouts in accordance with the TECS Directive.

    Recommendation 3: Develop and issue a policy regarding asking, advising, or
    otherwise communicating with foreign governments about denying entry to
    U.S. citizens. At a minimum, the policy should specify the appropriate
    circumstances for such communications, who is authorized to approve such
    communications, and the procedures to follow when making such
    communications.

    Recommendation 4: Conduct a review of all instances in which CBP, as part
    of its response to the migrant caravan, disclosed U.S. citizens’ Sensitive
    Personally Identifiable Information to Mexican officials, between October 2018
    and March 2019, to identify any instances that did not comply with foreign
    disclosure requirements and take remedial actions. Remedial actions may
    include rescinding requests to deny entry to U.S. citizens, retroactively
    instructing foreign authorities to hold CBP information in confidence and use


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    CBP information only for the purpose for which CBP provided it, ensuring
    disclosures are properly documented in CBP’s systems of records, and any
    other steps necessary to ensure that all foreign disclosures comply with CBP
    Directive No. 4320-025A, Disclosure of Official Information to Foreign Authorities,
    DHS Sensitive Systems Policy Directive 4300A, DHS Handbook for Safeguarding
    Sensitive Personally Identifiable Information, and all other applicable policies
    and procedures.

    Recommendation 5: Provide training to all CBP personnel on the process for
    sharing information with foreign nations, covering all applicable policies and
    procedures, including which CBP personnel are authorized to make foreign
    disclosures.

    Recommendation 6: Take immediate action to end the use of WhatsApp for
    operational purposes or to ensure that WhatsApp messages are retained in
    compliance with legal and policy requirements including records retention
    schedules.

                      Management Comments and OIG Analysis

    We have included a copy of CBP’s Management Response in its entirety in
    Appendix B. We also received technical comments to the draft report and
    revised the report where appropriate. CBP concurred with our six
    recommendations, which are resolved and open. A summary of CBP’s
    responses to our recommendations and our analysis follows.

    CBP Response to Recommendation 1: Concur. CBP will update lookout
    placement procedures in the TECS Directive. Additionally, CBP will modify
    existing training to inform users that lookouts should only be created for law
    enforcement purposes. CBP expects to complete these actions by December
    31, 2021.

    OIG Analysis: We consider these actions responsive to the intent of
    Recommendation 1, which is resolved and open. We will close this
    recommendation when CBP completes the identified updates to the TECS
    Directive and provides documentation showing that it has updated its existing
    training and provided that training to all CBP officials who have the authority
    to place lookouts.

    CBP Response to Recommendation 2: Concur. CBP will update lookout
    placement procedures in the TECS Directive. In addition, CBP will issue a
    memorandum and muster to remind CBP officers of their responsibilities to




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    remove and update lookouts in accordance with policy. CBP expects to
    complete these actions by December 31, 2021.

    OIG Analysis: We consider these actions responsive to the intent of
    Recommendation 2, which is resolved and open. We will close this
    recommendation when CBP completes the identified updates to the TECS
    Directive and provides documentation showing that it has issued the
    memorandum and muster to CBP officers with guidance on removing and
    updating lookouts in accordance with policy.

    CBP Response to Recommendation 3: Concur. CBP will revise Directive No.
    4320-025A, “Disclosure of Official Information to Foreign Authorities,” dated
    April 2014, by adding a provision on sharing U.S. persons’ information with
    foreign governments. CBP component offices will collaborate to revise and
    issue the policy. CBP expects to complete these actions by July 29, 2022.

    OIG Analysis: We consider this action responsive to the intent of
    Recommendation 3, which is resolved and open. We will close this
    recommendation when CBP completes the identified updates to Directive No.
    4320-025A, “Disclosure of Official Information to Foreign Authorities.”

    CBP Response to Recommendation 4: Concur. CBP will identify and review
    disclosures of U.S. citizens’ Personally Identifiable Information to Mexican
    officials that occurred as part of its response to the migrant caravans between
    October 2018 and March 2019, to ensure compliance with foreign disclosure
    requirements (specifically established policies and delegations of authority). To
    the extent remedial actions are required, CBP will remediate each non-
    compliant disclosure. CBP expects to complete these actions by March 31,
    2022.

    OIG Analysis: We consider these actions responsive to the intent of
    Recommendation 4, which is resolved and open. We will close this
    recommendation when we receive documentation showing that CBP has
    completed its review of disclosures of U.S. citizens’ Personally Identifiable
    Information to Mexico as part of its response to the 2018–2019 migrant
    caravan, as well as documentation showing completion of any required
    remedial action.

    CBP Response to Recommendation 5: Concur. CBP’s Privacy and Diversity
    Office, in coordination with various CBP components, will identify individuals
    and work units that regularly disclose PII to foreign partners, and will provide
    virtual training regarding all applicable policies and procedures by March 31,
    2022. The Privacy and Diversity Office, in coordination with the Office of


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    Training and Development, will also develop a new course focused on domestic
    and foreign information sharing in the DHS Performance and Learning
    Management System. CBP expects to complete these actions by December 30,
    2022.

    OIG Analysis: We consider these actions responsive to the intent of
    Recommendation 5, which is resolved and open. We will close this
    recommendation when we receive documentation showing that CBP has
    completed the identified training on processes for sharing information with
    foreign nations. In addition, in order to close this recommendation, we request
    that CBP provide a copy, once completed, of the course developed by the
    Privacy and Diversity Office, in coordination with the Office of Training and
    Development.

    CBP Response to Recommendation 6: Concur. CBP’s Office of Information
    and Technology will explore the viability of the continued operational use of
    WhatsApp, which will include looking for a replacement. Office of Information
    and Technology is currently piloting a managed messaging platform to replace
    WhatsApp. CBP is currently working on an operational pilot. CBP expects to
    complete these actions by December 31, 2021.

    OIG Analysis: We consider these actions responsive to the intent of
    Recommendation 6, which is resolved and open. We will close this
    recommendation when CBP provides documentation showing the results of its
    pilot to replace WhatsApp and to ensure that messages are retained in
    compliance with legal and policy requirements including records retention
    schedules.




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    Appendix A
    Objective, Scope, and Methodology

    The Department of Homeland Security Office of Inspector General was
    established by the Homeland Security Act of 2002 (Pub. L. No. 107ï296) by
    amendment to the Inspector General Act of 1978.

    The objective of this special review was to determine whether CBP improperly
    targeted journalists, attorneys, and advocates (caravan associates) because of
    their affiliation with and perceived support of the migrant caravan. We focused
    on CBP’s rationale for placing, maintaining, and removing active lookouts on
    caravan associates and whether CBP improperly requested Mexico to deny
    their entry. Our review primarily examined the actions of CBP’s Region IX
    Emergency Operations Center located in San Diego and the Foreign Operations
    Branch within the Border Patrol’s San Diego Sector, but we also reviewed
    certain actions taken by CBP’s National Targeting Center in the Washington,
    D.C. area.

    We conducted more than 50 interviews of CBP employees, obtained more than
    150,000 emails from 6 CBP officials, and imaged the contents of 3 government-
    issued mobile phones assigned to CBP supervisors in San Diego. During the
    early stages of our review, we asked CBP to provide “any and all notices or
    alerts CBP made to any law enforcement or other government agency (domestic
    or foreign)” about 54 specific U.S. citizens. The National Targeting Center and
    the Border Patrol’s San Diego Sector both responded that they had no such
    records, even though CBP officials in those units sent Mexico information
    about all 54 Americans. These omissions — whether intentional or
    unintentional — materially impeded and delayed our review.

    We also reviewed the circumstances surrounding lookouts CBP placed to refer
    51 U.S. caravan associates to secondary inspection. The PowerPoint that was
    leaked to the media in March 2019 included 38 Americans with caravan-
    related lookouts for referral to secondary inspection, and we identified 13
    additional American caravan associates with lookouts for referral to secondary
    inspection. For each of the 51 Americans, we reviewed data showing when
    CBP placed, edited, or removed each lookout, documentation showing CBP’s
    purported reason for placing the lookout, and all records relating to secondary
    inspections that CBP conducted pursuant to those lookouts. We also reviewed
    more than 20 binational information-sharing agreements between the United
    States and Mexico. In addition, we reviewed DHS and CBP policies,
    procedures, and delegation orders relating to sharing information with Mexico,
    placing and maintaining lookouts, securely transmitting information, storing
    government records, and conducting border searches.


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    This review was initiated in February 2019 by the former DHS OIG Special
    Reviews Group (SRG) and was conducted in accordance with SRG’s quality
    control standards and the Quality Standards for Federal Offices of Inspector
    General (Silver Book) issued by the Council of the Inspectors General on
    Integrity and Efficiency. These standards require work to be carried out with
    integrity, objectivity, and independence, and provide information that is
    factually accurate and reliable. This report reflects work performed by SRG
    pursuant to Section 2 of the Inspector General Act of 1978, as amended.




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    Appendix B
    CBP Comments to the Draft Report




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    Appendix C
    CBP’s Foreign Disclosures to Mexico: Tracking Compliance with
    DHS and CBP Policies1
    




                                                                                                      
    Source: DHS OIG analysis of Federal law, DHS and CBP policies, and CBP-provided data
    1 OIG’s analysis of the nine disclosures in Appendix C are bound by the limited facts that were
    available to OIG. Because CBP officials were not always forthcoming about these disclosures,
    OIG was not able to conclusively find whether the disclosures were made in compliance with
    DHS’ and CBP’s record retention policies.
    2 CBP Disclosure Directive, Section 5.2; San Diego Disclosure SOP, Section 1.3.2.
    3 CBP Disclosure Directive, Section 5.6; San Diego Disclosure SOP, Section 3.2.
    4 San Diego Disclosure SOP, Section 3.1.
    5 DHS Sensitive Systems Policy Directive 4300A, Version 13.1, Section 5.4.6k, July 2017.
    6 CBP Disclosure Directive, Sections 5.11, 5.12; San Diego Disclosure SOP, Section 3.2.1.



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    7 DHS Directive 141-01, Records and Information Management, Section V, Aug. 2014; Policy
    Directive 141-03, Memorandum from Claire M. Grady, Under Secretary for Management, to
    Component Heads, Electronic Records Management Updates for Chat, Text and Instant
    Messaging, Feb. 2018; U.S. Customs Service, Records Control Handbook, CIS HB 2100-05A,
    Part 3.C, Jan. 2001.
    8 FOB Official 1 said he communicated with the Mexican official using WhatsApp. Because he

    deleted those messages, we do not know whether they used WhatsApp to communicate about
    FOB Official 1’s request that Mexico deny entry to 14 Americans.
    9 We cannot determine whether Disclosures 2 and 3 contained the appropriate written

    advisements and markings, because documentary evidence of those disclosures does not exist.
    FOB Official 2 made Disclosure 2 in person, and we cannot conclusively know what those hard
    copy documents said. For Disclosure 3, FOB Official 2 did not retain his WhatsApp message
    transmitting the PowerPoint to the Mexican official.




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    Appendix D
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    Appendix E
    Report Distribution

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